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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                              UNITED STATES DISTRICT COURT                                  April 03, 2018
                               SOUTHERN DISTRICT OF TEXAS                                David J. Bradley, Clerk
                                   HOUSTON DIVISION

PETER MAKHLOUF, Individually and on               §
behalf of all others similarly situated,          §
                                                  §
          Plaintiff,                              §
VS.                                               §   CIVIL ACTION NO. 4:16-CV-00838
                                                  §
TAILORED BRANDS, INC., et al,                     §
                                                  §
          Defendants.                             §

                                     OPINION AND ORDER

         Pending before the Court in the above referenced Federal Rule of Civil Procedure 23(a)

and (b)(3) securities class action on behalf of all persons who purchased or otherwise acquired

Tailored Brands, Inc. (“Tailored Brands” or the “Company”) securities between June 18, 2014

and December 9, 2015 (the “Class Period”), alleging violations of Sections 10(b) and 20(a) of

the Securities Exchange Act (“Exchange Act”) of 1934 against Tailored Brands and executive

officers Douglas S. Ewert, Jon W. Kimmins, and Mary Beth Blake, is the Defendants’ Motion to

Dismiss the Amended Complaint pursuant to Federal Rules of Civil Procedure 9(b) and 12(b)(6)

(Doc. 63).

         This federal securities suit arises out of the contentious acquisition by Tailored Brands of

one-time rival Joseph A. Bank Clothiers, Inc. (“Jos. A. Bank”) and optimistic, but allegedly

misleading, statements made during and after the acquisition.          Ultimately Tailored Brands

purchased Jos. A. Bank, which was subsequently determined to be a deeply troubled company, at

an excessive price, with the integration not proceeding as materially misrepresented to Tailored

Brands shareholders and with adverse facts not disclosed to them during the Class Period.

Tailored Brands’ stock became artificially inflated, Class members purchased it at highly inflated


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prices, and they suffered economic loss when revelations of its actual financial situation reached

the market.

         After carefully reviewing the Amended Complaint, the briefs, and the applicable law, for

the reasons stated below, the Defendants’ Motion is granted. Plaintiff’s claims against the

Defendants are dismissed without prejudice for failing to allege scienter.

                                       Standards of Review

         Federal Rule of Civil Procedure 8(a)(2) provides: “A pleading that states a claim for

relief must contain . . . a short and plain statement of the claim showing that the pleader is

entitled to relief.” When a district court reviews a motion to dismiss pursuant to Fed. R. Civ. P.

12(b)(6), it must construe the complaint in favor of the plaintiff and take all well-pleaded facts as

true. Randall D. Wolcott, MD, PA v. Sebelius, 635 F.3d 757, 763 (5th Cir. 2011), citing

Gonzalez v. Kay, 577 F.3d 600, 603 (5th Cir. 2009).

         “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed

factual allegations, . . . a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to

relief’ requires more than labels and conclusions, and a formulaic recitation of the elements of a

cause of action will not do . . . .” Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1964-65

(2007) (citations omitted). “Factual allegations must be enough to raise a right to relief above

the speculative level.” Id. at 1965, citing 5 C. WRIGHT & A. MILLER, Federal Practice and

Procedure § 1216, pp. 235-236 (3d ed. 2004) (“[T]he pleading must contain something more . . .

than . . . a statement of facts that merely creates a suspicion [of] a legally cognizable right of

action.”). “Twombly jettisoned the minimum notice pleading requirement of Conley v. Gibson,

355 U.S. 41 . . . (1957) [“a complaint should not be dismissed for failure to state a claim unless it

appears beyond doubt that the plaintiff can prove no set of facts in support of his claim which


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would entitle him to relief”], and instead required that a complaint allege enough facts to state a

claim that is plausible on its face.” St. Germain v. Howard, 556 F.3d 261, 263 n.2 (5th Cir.

2009), citing In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007) (“To

survive a Rule 12(b)(6) motion to dismiss, the plaintiff must plead ‘enough facts to state a claim

to relief that is plausible on its face.’”), citing Twombly, 127 S. Ct. at 1974. “‘A claim has facial

plausibility when the pleaded factual content allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.’” Montoya v. FedEx Ground Package

System, Inc., 614 F.3d 145, 148 (5th Cir. 2010), quoting Ashcroft v. Iqbal, 129 S. Ct. 1937, 1940

(2009). The plausibility standard is not akin to a “probability requirement,” but asks for more

than a “possibility that a defendant has acted unlawfully.” Twombly, 550 U.S. at 556. Dismissal

is appropriate when the plaintiff fails to allege “‘enough facts to state a claim to relief that is

plausible on its face’” and therefore fails to “‘raise a right to relief above the speculative level.’”

Montoya, 614 F.3d at 148, quoting Twombly, 550 U.S. at 555, 570.

         In Ashcroft v. Iqbal, 129 S. Ct. at 1940, the Supreme Court observed the tenet that “only a

complaint that states a plausible claim for relief survives a motion to dismiss,” a determination

involving “a context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” “[T]hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements do not suffice” under Rule 12(b). Iqbal, 129 S. Ct. at

1949.    The plaintiff must plead specific facts, not merely conclusory allegations, to avoid

dismissal.    Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498 (5th Cir. 2000).

“Dismissal is proper if the complaint lacks an allegation regarding a required element necessary

to obtain relief . . . .” Rios v. City of Del Rio, Texas, 444 F.3d 417, 421 (5th Cir. 2006), cert.

denied, 549 U.S. 825 (2006).


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         As noted, on a Rule 12(b)(6) review, although generally the Court may not look beyond

the pleadings, the Court may examine the complaint, documents attached to the complaint, and

documents attached to the motion to dismiss to which the complaint refers and which are central

to the plaintiff’s claim(s), as well as matters of public record. Lone Star Fund V (U.S.), L.P. v.

Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010), citing Collins, 224 F.3d at 498-99; Cinel

v. Connick, 15 F.3d 1338, 1341, 1343 n.6 (5th Cir. 1994). See also United States ex rel. Willard

v. Humana Health Plan of Tex., Inc., 336 F.3d 375, 379 (5th Cir. 2003) (“[T]he court may

consider . . . matters of which judicial notice may be taken”). Taking judicial notice of public

records directly relevant to the issue in dispute is proper on a Rule 12(b)(6) review and does not

transform the motion into one for summary judgment. Funk v. Stryker Corp., 631 F.3d 777, 780

(5th Cir. 2011). “A judicially noticed fact must be one not subject to reasonable dispute in that it

is either (1) generally known within the territorial jurisdiction of the trial court or (2) capable of

accurate and ready determination by resort to sources whose accuracy cannot reasonably be

questioned.” FED. R. EVID. 201(b).

         In addition to Rules 8(a) and 12(b)(6), fraud claims must also satisfy the heightened

pleading standard set out in Federal Rule of Civil Procedure 9(b): “In allegations alleging

fraud…., a party must state with particularity the circumstances constituting fraud or mistake.

Malice, intent, knowledge, and other conditions of a person’s mind may be alleged generally.”

A dismissal for failure to plead with particularity as required by this rule is treated the same as a

Rule 12(b)(6) dismissal for failure to state a claim. Lovelace v. Software Spectrum, Inc., 78 F.3d

1015, 1017 (5th Cir. 1996). The Fifth Circuit interprets Rule 9(b) to require “specificity as to the

statements (or omissions) considered to be fraudulent, the speaker, when and why the statements

were made, and an explanation of why they were fraudulent.” Plotkin v. IP Axess, Inc., 407 F.3d


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690, 696 (5th Cir. 2005). See also Southland Sec. Corp. v. INSpire Ins. Solutions, Inc., 365 F.3d

353, 362 (5th Cir. 2004) (“To satisfy Rule 9(b)’s pleading requirements the plaintiffs must

specify the statements contended to be fraudulent, identify the speaker, state when and where the

statements were made, and explain why the statements were fraudulent.”) (quoting Williams v.

WMX Technologies, Inc., 112 F.3d 175, 177-78 (5th Cir. 1997), cert. denied, 522 U.S. 966

(1997)).

         “When a corporation is alleged to have made false representations, the court must

[identify and] look to ‘the state of mind of the corporate official or officials who make or issue

the statement.’ It follows that ‘[a] corporation can be held to have a particular state of mind

[e.g., fraudulent intent] when that state of mind is possessed by a single individual.’” 7-Eleven

Inc. v. Puerto Rico-7 Inc., Civ. A. No. 3:08-CV-00140-B, 2008 WL 4951502, *2 (N.D. Tex.

Nov. 19, 2008), quoting Southland Sec. Corp., 365 F.3d 353, 366-67 (5th Cir. 2004).

         Private litigants who bring securities fraud claims must also satisfy the pleading

requirements of the Private Securities Litigation Reform Act of 1995 (“PSLRA”) before any

discovery is allowed. “To state a securities fraud claim under section 10(b) and Rule 10b-5,

plaintiff must plead (1) a misstatement or omission, (2) of a material fact, (3) made with scienter,

(4) on which the plaintiffs relied, and (5) that proximately caused the plaintiff’s injuries.

Southland, 365 F.3d at 362. For a misrepresentation to be material, “there must be a substantial

likelihood that the disclosure of the omitted fact would have been viewed by the reasonable

investor as having significantly altered the ‘total mix’ of information made available.” Basic Inc.

v. Levinson, 485 U.S. 224, 231-31 (1988). “The appropriate inquiry is whether, under all the

circumstances, the omitted fact or prediction without a reasonable basis ‘is one [that] a

reasonable investor would consider significant in [making] the decision to invest, such that it


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alters the total mix of information available about the proposed investment.’” Rubinstein v.

Collins, 20 F.3d 160, 168 (5th Cir. 1994), quoting Krim v. BancTexas Group, 989 F.2d 1435,

1445 (5th Cir. 1993).

         For false statements of a material fact or a misleading omission of material fact, Plaintiff

must “specify each statement alleged to have been misleading and the reasons why the statement

is misleading, and if an allegation regarding the statement or omission is made on information

and belief, the complaint shall state with particularity all facts on which that belief is formed.”

15 U.S.C. § 15 U.S.C. § 78u-4(b)(2). See also ABC Arbitrage Plaintiffs Group v. Tchuruk, 291

F.3d 336, 351 (5th Cir. 2001) (“To summarize, a plaintiff pleading a false or misleading

statement or omission as the basis for a section 10(b) and Rule 10b-5 securities fraud clam must,

to avoid dismissal pursuant to Rule 9(b) and 15 U.S.C. §§ 78u-4(b)(1) and 78u-4(b)(3)(A): (1)

specify each statement alleged to have been misleading, i.e., contended to be fraudulent; (2)

identify the speaker; (3) state when and where the statement was made; (4) plead with

particularity the contents of the false representations; (5) plead with particularity what the person

making the misrepresentation obtained thereby; and (6) explain the reason or reasons why the

statement is misleading, i.e., why the statement is fraudulent. Additionally, under 15 U.S.C. §

78u-4(b)(1), for allegations made on information and belief, the plaintiff must: (7) state with

particularity all facts on which that belief is formed, i.e., set forth a factual basis for such

belief.”).

         Plaintiffs must also “state with particularity facts giving rise to a strong inference that

defendants acted with the required state of mind,” scienter, i.e., “not merely simple or even

inexcusable negligence,” but instead a mental state embracing “intent to deceive, manipulate, or

defraud, or that ‘severe recklessness’ in which the danger of misleading buyers or sellers . . . is


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either known to the defendant or is so obvious that the defendant must have been aware of it.”

15 U.S.C. § 78u-4(b)(2); Southland Sec. Corp. v. INSpire Ins. Solutions, Inc., 365 F.3d 353, 366

(5th Cir. 2004), quoting Broad v. Rockwell Int’l Corp., 642 F.2d 929, 961-62 (5th Cir. 1981) (en

banc).

         To determine whether a plaintiff has adequately pleaded scienter under the PSLRA, all

facts must be evaluated collectively, not in isolation, and the “court must take into account

plausible inferences opposing as well as supporting a strong inference of scienter.” Ind. Elec.

Workers’ Pension Trust Fund IBEW v. Shaw Group, Inc., 537 F.3d 527, 533 (5th Cir. 2008),

citing Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). The inference that

the defendant acted with scienter need not be irrefutable, but it must ultimately be cogent and

compelling, not merely reasonable or permissible. See Tellabs, 551 U.S at 314 (“[T]o determine

whether a complaint's scienter allegations can survive threshold inspection for sufficiency, a

court . . . must engage in a comparative evaluation; it must consider, not only inferences urged

by the plaintiff, . . . but also competing inferences rationally drawn from the facts alleged. An

inference of fraudulent intent may be plausible, yet less cogent than other, nonculpable

explanations for the defendant's conduct. To qualify as ‘strong’ within the intendment of §

21D(b)(2), we hold, an inference of scienter must be           more than merely plausible or

reasonable—it must be cogent and at least as compelling as any opposing inference of

nonfraudulent intent.”).

         The Fifth Circuit has rejected the contention that allegations of motive and opportunity

standing alone will satisfy the scienter requirement, but it has found that they may meaningfully

enhance the strength of the inference of scienter. Flaherty & Crumrine Preferred Income Fund,

Inc. v. TXU Corp., 565 F.3d 200, 208 (5th Cir. 2009) (citing Ind. Elec., 537 F.3d at 533), cert.


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denied, 558 U.S. 873 (2009).

         The Fifth Circuit has also rejected group pleading of scienter and requires the plaintiffs to

plead facts showing “the state of mind of the individual corporate official or officials ‘who make

or issue the statement (or order or approve it or its making or issuance, or who furnish

information or language for inclusion therein, or the like) rather than generally to the collective

knowledge of all the corporation’s officers and employees acquired in the course of their

employment.’” Id. Where the corporate documents have no stated author or for statements

where the documents are not attributed to any individual, a corporate officer’s signature on the

document is sufficient to charge the document to him. Southland, 365 F.3d at 365. “[T]he

corporation itself may be treated as making press releases and public statements issued by

authorized officers on its behalf, and statements made by its authorized officers to further the

interests of the corporation.” Id.

         Under the PSLRA a plaintiff must prove that the defendant’s act or omission alleged to

have violated the Exchange Act caused the loss for which the plaintiff seeks to recover damages.

15 U.S.C. § 78u-4(b)(4). To establish loss causation an investor must plead facts showing a

causal relationship between his damages and the defendant’s material misstatement or omission.

The Supreme Court has held that the traditional elements of proximate causation and economic

loss must be alleged to establish loss causation under § 10(b). Dura Pharmaceuticals, Inc. v.

Broudo, 544 U.S. 336, 346-47 (2005). For loss causation the plaintiff may not simply allege that

the price of security on the date of purchase was inflated because of the alleged

misrepresentation. Id. at 342 (“[A]s a matter of pure logic, at the moment that a transaction takes

place, the plaintiff [who has purchased securities at an inflated price] has suffered no loss; the

inflated purchase payment is offset by ownership of a share that at that instant possesses


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equivalent value.” (emphasis in original)).

         Nor does a decline in stock price following a public announcement of bad news, by itself,

demonstrate loss causation supporting a securities fraud claim. 15 U.S.C. § 78j(b); 17 C.F.R. §

240.10b-5. An investor must show that the misstatement or omission itself is the actual cause of

his economic loss, as opposed to changed economic circumstances, changed investor

expectations, new industry-specific facts, conditions, or other events.” Dura Pharms., 544 U.S.

at 342; see also Alaska Elec. Pension Fund v. Flowserve Corp., 572 F.3d 221, (5th Cir. 2009)

(“The loss must be caused because this truth ‘ma[de] its way into the marketplace,’ not as a

result of ‘changed economic circumstances, changed investor expectations, new industry-specific

or firm-specific facts, conditions’ or other factors independent of the fraud.”), citing Dura

Pharms., 544 U.S. at 342-43.

         The Fifth Circuit requires that a plaintiff must allege either (1) a “facially ‘plausible’

causal relationship between the fraudulent statements or omissions and plaintiff’s economic loss,

including allegations of material misrepresentation or omission, followed by the leaking out of

relevant or related truth about the fraud that caused a significant part of the depreciations of the

stock and plaintiff’s loss” or (2) “enough facts to give rise to a reasonable hope or expectation

that discovery will reveal evidence of the foregoing elements of loss causation.” Lormand v.

U.S. Unwired, Inc., 565 F.3d. 228, 258 (5th Cir. 2009). “[L]oss causation may be pleaded on the

theory that the truth gradually emerged through a series of partial disclosures and that an entire

series of partial disclosures caused the stock price deflation.” Id. at 261. The Fifth Circuit has

ruled that notice pleading under Rules 8(a) and 12(b)(6), not heightened pleading, is sufficient to

plead loss causation.

                    Factual Allegations of the Amended Complaint (Doc. 58)


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          Lead Plaintiff, Strathclyde Pension Fund, on behalf of itself and all persons similarly

situated, brings this securities fraud class action against Defendants Tailored Brands and three of

its senior executive officers, Douglas S. Ewert (the Chief Executive Officer), Jon W. Kimmins

(the Chief Financial Officer), and Mary Beth Blake (the Chief Merchandising Officer), for

violations of the Securities Exchange Act of 1934. The action is brought on behalf of purchasers

of Men’s Wearhouse common stock between July 29, 2014 and December 9, 2015, inclusive (the

“Class Period”). During the Class Period, Men’s Wearhouse stock was listed and traded on the

New York Stock Exchange as MW; after the Class Period, Men’s Wearhouse changed its name

to Tailored Brands.      There were more than 48 million shares of Men’s Wearhouse stock

outstanding during the Class Period.

          Defendant Ewert was the Company’s CEO during the Class Period. He joined the

Company in 1995, became an executive officer in 2000, and since March 2016, has served as

President. As CEO and President, he spoke on the Company’s behalf in releases, conference

calls, and SEC filings and certified the Company’s Forms 10-Q and Form 10-K during the

relevant period.     Defendant Kimmins was the Company’s Executive Vice President, CFO,

Treasurer, and Principal Financial Officer during the Class Period. As CFO, Treasurer and

Principal Financial Officer, he spoke on the Company’s behalf in releases, conference calls, and

SEC filings and certified the Company’s Forms 10-Q and Form 10-K during the relevant period.

Defendant Mary Beth Blake was the Company’s Executive Vice President and Chief

Merchandising Officer during the Class Period until September 10, 2014 when her title changed

to President and Chief Merchandising Officer. As CMO, she spoke on behalf of Men’s

Wearhouse during a July 29, 2014 Analyst Day conference call.

          As background, in October 2013, Jos. A. Bank launched an unsolicited bid to buy Men’s


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Wearhouse for $2.3 billion. Men’s Wearhouse rejected the offer without seriously considering

it, a move which upset its largest shareholder, who supported a merger with Jos. A. Bank. That

shareholder threatened to call a shareholder meeting to vote on passing bylaw amendments

which would permit the removal of directors without cause. First Amended Complaint (FAC),

Doc. 58 at 14.       Two weeks later, under immense pressure from this shareholder, Men’s

Wearhouse reversed course and offered to buy Jos. A. Bank. The merger ultimately occurred in

June 2014, with Men’s Wearhouse purchasing Jos. A. Bank for $1.8 billion.              The Men’s

Wearhouse executives maintained their corporate positions and were rewarded with special one-

time bonuses upon the closing of the merger. Id. at 3.

          Defendants also received special accelerated stock and option awards in September 2014,

the vesting of which was directly linked to their ability to achieve specific adjusted earnings per

share targets for fiscal year 2017 and the Company’s total shareholder return compared to that of

other select companies over a pre-defined period. Id. at 4.        After the merger, Defendants

promised investors $100-150 million in merger synergies by improving Jos. A. Bank’s business

and operations. Defendants announce guidance of $5.50-$6.00 per share in adjusted earnings per

share (“EPS”) through 2017. Id. at 5. Defendants assured investors they would move “slowly

and deliberately” to enact the changes, testing them first on a small scale before proceeding on a

large scale, and would take care not to alienate preexisting Jos. A. Bank customers. Id.

          Throughout the Class Period, Defendants continued to assure investors that they had

confidence in these figures and that they were taking precautions against risk. However, what

actually played out is that Defendants changed the Jos. A. Bank model drastically and quickly,

while allegedly being aware of but failing to disclose the material negative impact the intended

changes would have on Jos. A. Bank’s business. These drastic, untested changes resulted in Jos.


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A. Bank losing loyal customers and suffering large reductions in sales.

          Specifically, the changes enacted by Defendants included replacing Jos. A. Bank’s long-

time, low-cost suppliers with the more expensive suppliers used by Men’s Wearhouse. The new

suits added to the inventory were more expensive, brand-name, and came in more modern cuts

such as “slim fit.” With the more costly suppliers, Defendants knew they would have to do away

with Jos. A. Bank’s margin-erosive, yet popular and previously lucrative “Buy One Get Three

Free” or “BOG3” suit promotional events. Yet, Plaintiff alleges, “defendants were warned on

numerous occasions that changing the price of a Jos. A. Bank suit by as little as $1, eliminating

the ubiquitous yet essential BOG3 promotions, or altering the mix/style/fit of the Jos. A. Bank

suits in an attempt to attract younger Millenial customers to the brand would be devastating and

have a disastrous 30% negative impact on sales as loyal customers would flee in droves.” FAC at

5-6. In spite of these warnings, Defendants continued with their plan to change the suit prices

and inventory at Jos. A. Bank while assuring investors at the time of the acquisition that Jos. A.

Bank would be accretive to the Company’s earnings, create significant cost synergies, and

general meaningful shareholder returns. Id.

          Defendants’ alleged Class Period misrepresentations and omissions occurred at more than

ten different events detailed in the First Amended Complaint, including: (1) at a July 24, 2014

Analyst Day; (2) at the time of the 2Q14 earnings release; (3) at a mid-quarter analyst meeting

with management in November 2014; (4) at the time of the 3Q14 earnings release; (5) at the time

of the 4Q14/FY14 earnings and results release; (6) on the March 27, 2015 Form 10-K; (7) on

May 2015 offering documents; (8) at the time of the 1Q15 earnings release; (9) at the time of the

2Q15 earnings release; and (10) at the time of the 3Q15 earnings release.

July 24, 2014 Analyst Day


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          On July 29, 2014, about a month after the merger, Men’s Wearhouse hosted an Analyst

Day led by Ewert, Kimmins, and Blake. There, Blake stated that the “long term strategy is to

wean off the most margin erosive sale events.” FAC at 23. Ewert explained to analysts that “we

will move slowly and deliberately making sure that significant changes are tested on a small

scale before proceeding on a large scale.” Id. at 24. He noted that the goal was to “further

engage, but not alienate the Joseph Bank existing customer” while also trying to attract new

customers. Id. Ewert also told analysts that no sudden changes would be made to the aggressive

price promotion offers, and instead the potential changes price and promotion strategies would

be tested and enacted in a localized way to avoid risk. Id.

          Plaintiff alleges that these statements were materially false and misleading when made

because they omitted the true facts, which were then known or recklessly disregarded by the

Defendants. One “true fact” allegedly omitted was the fact that Defendants planned to replace

Jos. A. Bank’s merchandise sourcing vendors with Men’s Wearhouse vendors while knowing or

recklessly disregarding that the resulting, necessary price increase would have a “tremendous

negative impact on sales.” Id. at 25.

          Additionally, Defendants omitted the fact that they intended to eliminate the BOG3 as

soon as the acquisition closed, which they knew or recklessly disregarded would cause sales to

decline by 30%. Id. Plaintiff alleges this “knowledge” of the “true facts” about the impact of

ending the BOG3 promotion was shared with the Men’s Wearhouse executives by the former

Jos. A. Bank executives during “Monday morning meetings” that took place weekly among the

former Jos. A. Bank executives and Defendants Ewert and Blake after the merger. Id. at 25-26.

2Q14 Earnings Release, Conference Call and Form 10-Q

          On September 10, 2014, after announcing 2Q14 results, Ewert stated that they “continue


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to expect between $100 and $150 million in synergies” and upon questioning from investors,

expressed that he was “very confident” about that guidance. FAC at 26-27. The next day, on a

conference call, Ewert assured investors that the Company would be careful to retain existing

Jos. A. Bank customers “by seeking their permission through testing before making widespread

changes.” Id.

          Plaintiff alleges those statements were materially false and misleading when made in that

they omitted the true facts, which were then known to or recklessly disregarded by Defendants.

Again, the “facts” alleged by Plaintiff to be omitted were that Defendants planned to switch to

the Men’s Wearhouse supplier, which would necessitate raising prices, which would have a

“tremendous negative impact on sales.” Id. at 28. Further, Defendants omitted the fact that they

intended to eliminate the BOG3 as soon as the acquisition closed, which they knew or recklessly

disregarded would cause sales to decline by 30%. Id. Plaintiff alleges that by omitting these two

“facts,” Defendant’s 2017 guidance lacked a reasonable basis when made and omitted material

facts necessary to make the guidance not misleading. Id. at 29.

          Additionally, Plaintiff points to Men’s Wearhouse’s 2Q14 Form-10Q for the period

ending on August 2, 2014, which was prepared, reviewed, and signed by defendants Ewert and

Kimmins and filed with the SEC. Defendants Ewert and Kimmins each certified the document

“does not contain any untrue statement of a material fact or omit to state a material fact

necessary to make the statements made, in light of the circumstances under which such

statements were made, not misleading.” Id.

          However, Plaintiff alleges the Form 10-Q was false and misleading because it failed to

disclose the known trends and uncertainties described above. This omitted information was

required to be disclosed to investors by Item 303 of Regulation S-K, 17 C.F.R. §


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229.303(a)(3)(ii)-(iii).

3Q14 Earnings Release, Conference Call and Form 10-Q

          In a December 10, 2014 release announcing the Company’s 3Q14 results, Ewert stated:

“We remain confident in our 2017 guidance and our cost synergy run-rate at the end of the third

quarter is well ahead of our original $15 million projection for the end of the 2014 fiscal year.”

FAC at 33. Kimmins echoed the same sentiment in a conference call the next day. Also during

that conference call, Ewing was questioned about the timeline by securities analyst Janet

Kloppenburg, who observed that the reduction in promotional activity was hurting the

Company’s top line. In response, he told her: “We see revenue synergies starting to gain traction

in 2015, as we start to right-size the fit and fashion and make it more trend right. It will certainly

start building in spring and gain more traction in fall.” Id. at 35.

          Plaintiff alleges these statements were materially false and misleading for the same

reasons as recited above. Additionally, despite telling investors they would be judicious and take

care to retain loyal Jos. A. Banks customers “by seeking their permission through testing before

making widespread changes,” Defendants instead introduced name-brand and slim fit suits into

the inventory without first testing customer response. Id. at 36. Sales immediately declined and

Defendants were aware of these adverse developments due to electronic polls from stores

received nightly at the corporate office documenting which styles of suits are being sold on a

daily, weekly, monthly, and yearly basis. Id. at 37. Plaintiff alleges that this data about the daily

sales statistics “demonstrated to defendants that the branded tailored suits. . . and slim fit suits

were not resonating with the typical Jos. A. Bank customers and were not selling.” Id. Yet,

despite having this data, Defendants “recklessly disregarded” the fact that “Jos. A. Bank could

not alter the fit, pricing, or promotions without alienating its existing customers and causing a


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30% sales decline.” Id.

          Additionally during this period, Men’s Wearhouse released its 3Q14 Form 10-Q for the

period ending November 1, 2014, signed by Ewert and Kimmins, who certified it was not

misleading. Plaintiff alleges that the Form 10-Q was indeed false and misleading because it

omitted material information about trends and uncertainties required to be disclosed to investors

under Item 303 of Regulation S-K, 17 C.F.R. § 229.303(a)(3)(ii)-(iii). Id. at 37-38. Further, the

Form 10-Q stated that there had been no material changes to the risk factors since they were set

forth in the Form 10-Q for the period ending on February 1, 2014. Yet, Plaintiff contends, the

risk factors had materially changed since that date. Id. at 38.

4Q14/FY 14 Earnings Release and Conference Call

          On March 11, 2015, Men’s Wearhouse released the Company’s 4Q14 and Fiscal Year 14

results, which included an adjusted EPS of $2.58. FAC at 38. Ewert expressed continued

confidence in the 2017 EPS guidance, and the Company actually increased its adjusted EPS from

the range of $5.50 to $6.00 to the range of $5.75 to $6.25. Id. at 38-39. In a conference call the

next day, Kimmins told investors “we are on track with our internal plans for sales.” Ewert added

that the “Jos. A. Bank customer is loyal and has been responding well to the small amount of

newness that they’ve seen.” Id. at 39-40.

          Plaintiff alleges these statements were materially false and misleading when made in that

they omitted true facts then known by the defendants. In support of this allegation, Plaintiff

refers to the same facts as above: Defendants’ plan included replacing Jos. A. Bank vendors with

Men’s Wearhouse vendors, which would cause a price increase, which was “known” to have a

negative impact on sales; Defendants intended to eliminate the BOG3 sales, which was “known”

to result in a 30% decline in sales; Defendants were not taking a measured approach to


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implementing changes despite telling investors they would “be judicious” and be careful to

maintain preexisting Jos. A. Bank customers. Id. at 41-44.

          Plaintiff states that Defendants continued to assure investors that they were confident and

that their plan was working as hoped, while, in reality, sales were declining rapidly as a result of

the changes enacted by Defendants. Importantly, Plaintiff alleges that Defendants “were aware

of these adverse development” thanks to the daily sales polling data showing that the brand-name

and slim fit suits were not selling. Id. at 43. Defendants recklessly disregarded the fact that Jos.

A. Bank could not alter the pricing or promotions without alienating its existing customers or

causing a 30% decline in sales. Id. Yet, Defendants did not report any of this information to

investors or disclose it in their 2015 and 2017 guidance. Id. at 44.

1Q15 Earnings Release, Conference Call and Form 10-Q

          On June 10, 2015, Men’s Wearhouse released the Company’s 1Q5 results, which

included an adjusted EPS of $0.54 and stated that “Jos. A. Bank integration remains on track.”

FAC at 48. On a conference call the next day, Ewert told investors that “merger integration is on

track and going very well” and “a lot of the risk is now behind us.” Id. at 49. Plaintiff alleges

these statements were materially false and misleading when made in that they omitted the true

facts, including that the slim fit and name brand suits were not selling well and Defendants were

aware of these adverse developments. Id. at 52.

          Additionally during this period, Men’s Wearhouse released its 1Q15 Form 10-Q for the

period ending May 2, 2015, signed by Ewert and Kimmins, who certified it was not misleading.

Plaintiff alleges that the Form 10-Q was indeed false and misleading because it omitted material

information about trends and uncertainties required to be disclosed to investors under Item 303

of Regulation S-K, 17 C.F.R. § 229.303(a)(3)(ii)-(iii). Id. at 54. Further, the Form 10-Q stated


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that there had been no material changes to the risk factors since they were set forth in the Form

10-Q for the period ending on January 31, 2015. Yet, Plaintiff contends, the risk factors had

materially changed since that date. Plaintiff alleges that as a result of these materially false and

misleading statements, Men’s Wearhouse stock reached its Class Period high of $66.18 per share

on June 22, 2015. Id. at 55.

2Q15 Earnings Release, Conference Call and Form 10-Q

          On September 8, 2015, Men’s Wearhouse released the Company’s 1Q15 results, which

included an adjusted EPS of $1.07. FAC at 55. Ewert again expressed continued confidence in

the 2017 guidance, but announced that the Company would “accelerate” their plan to change the

“pricing and promotional strategy” and would pursue those changes “in a more aggressive and

comprehensive way.” Id. at 56.

          The next day on a conference call with investors, Ewert participated in the following

exchange with investor Janet Kloppenburg regarding the plan to accelerate the elimination of the

Buy-One-Get-Three-Free promotion:

          Janet Kloppenburg: I was wondering if you could provide any sensitivity that
          you have to lowering the promotional cadence going away from the buy one, get
          three free program, and what the reaction has been there. Perhaps something
          you’re seeing in August, so quarter to date. I guess, Doug, what I’d like to say is
          you’ve guided to a certain level of performance for – implied performance – for
          Joseph A. Banks in the third quarter, and I’m wondering if there’s been some
          testing or analytics behind that. . . . . My question is, have you done any testing
          there to see what the response rate is versus the buy one, get three, and what the
          margin trends look like?
          Doug Ewert: Well, certainly. We’ve been testing a lot of different ways to skin
          the promotional part of the business. At the end of the day, we think BOGO3 is
          very toxic. Customers have been trained to wait for it. We think we have to take
          it out of the picture to really understand and normalize what the rest of the
          promotional cadence looks like. We have a pretty high degree of confidence that
          this is the right move. Certainly we’ve been running promotional businesses in
          this sector for a long time at Men’s Wearhouse and Moores, and so we have a lot
          of experience in how to drive sustainability in a promotional business like this.
          All of those years of learning are going to come into play here at Joseph Bank.

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         So our testing has really been across all of our name plates, not just at Joseph
         Bank. We’re pretty convinced this is the right thing to do. We were convinced
         this is the right thing to do a year ago. It’s just now we’re in a much better
         position to accelerate that strategy.
Id. at 59-60.

          Plaintiff alleges these statements were materially false and misleading when made in that

they omitted the true facts which were then known to or recklessly disregarded by Defendants.

Among the omitted “true facts” was the fact that after the merger, at a 1Q15 managers

conference in Ft. Lauderdale, Florida, Jos. A. Bank senior executives advised Men’s Wearhouse

executives including Ewert and Blake that eliminating the BOG3 promotions would result in a

30% drop in sales. Plaintiff alleges that “[t]he 30% drop analysis, which was subsequently

discussed in detail during a carve-out meeting of executives, demonstrated that Jos. A. Bank had

previously tested dropping or changing the promotions and learned that the losses would be

catastrophic if the type or cadence [of] sales was altered.” Id. at 62.

          Additionally during this period, Men’s Wearhouse released its 2Q15 Form 10-Q for the

period ending August 1, 2015, signed by Ewert and Kimmins, who certified it was not

misleading. Plaintiff alleges that the Form 10-Q was indeed false and misleading because it

omitted material information about trends and uncertainties required to be disclosed to investors

under Item 303 of Regulation S-K, 17 C.F.R. § 229.303(a)(3)(ii)-(iii). Id. at 65. Further, the

Form 10-Q stated that there had been no material changes to the risk factors since they were set

forth in the Form 10-Q for the period ending on January 31, 2015. Yet, Plaintiff contends, the

risk factors had materially changed since that date.

3Q15 Earnings Release, Conference Call and Form 10-Q

          On December 10, 2015, during a conference call with analysts to discuss the Company’s

3Q15 results, Kimmins stated that “the Jos. Bank sales for the first five weeks of the current


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quarter are down by 35.1%.” FAC at 71. Plaintiff alleges that Defendants had known for some

time that the 30% decrease would inevitably result from the changes made to the Jos. A. Bank

business model, but materially mislead the investing public about the negative impacts they

knew would occur. Id. at 74.

Loss Causation and the Class Members’ Economic Loss

          Plaintiff alleges that during the Class Period, Defendants engaged in a scheme designed

to artificially inflate the price of Men’s Wearhouse stock by issuing materially false and

misleading statements and omissions regarding its Jos. A. Bank business and operations. Upon

revelations of these misleading statements, the artificial inflation dissipated and Men’s

Wearhouse’s stock price fell, resulting in significant economic loss for Lead Plaintiff and other

Class members. FAC at 76-77.

Counts 1 and 11

          Plaintiff alleges Defendants violated § 10(b) of the 1934 Act and Rule 10b-5 because

they employed devices, schemes and artifices to defraud; made untrue statements of material

facts or omitted to state true facts necessary in order to make statements made, in light of the

circumstances under which they were made, not misleading; or engaged in acts, practices and a

course of business that operated as a fraud or deceit upon Lead Plaintiff and others similarly

situated in connection with their transactions in Men’s Wearhouse stock during the Class Period.

FAC at 84. Plaintiff also alleges Defendants are liable pursuant to § 20(a) of the 1934 Act

because they were acted as controlling persons of Men’s Wearhouse within the meaning of that

section. Id. at 85.

Summary of the First Amended Complaint

          In summary, Lead Plaintiff alleges that during the Class Period, Defendants made a series


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of statements that omitted material facts about Jos. A. Bank’s business and operations, the

omission of which rendered Defendants’ statements false and misleading.              Specifically,

Defendants concealed from investors known trends and uncertainties associated with enacting

large changes to the Jos. A. Bank business model. Still, defendants enacted those risky changes

while knowing, or recklessly disregarding, that they would alienate Jos. A Bank’s existing

customers and cause sales declines of 30% at Jos. A. Bank. FAC at 2-3.

          Plaintiff’s claims hinge largely on the fact that the Men’s Wearhouse executives were

informed by the former Jos. A. Bank executives that, according to their research, certain changes

would have a devastating impact on sales. The changes that the Jos. A. Banks executives warned

Defendants of included raising prices, ending the popular “buy one, get three free” suit sale

events, and changing the inventory to include modern and slim fit suits. Nevertheless, the

Defendants implemented those changes. The Defendants did not disclose the information that

the former Jos. A. Bank executives had shared with the Men’s Wearhouse executives.

          Additionally, Plaintiff alleges that as Defendants enacted these changes, they collected

live data from polling their stores showing that the changes were not being well-received.

Instead of disclosing this known, adverse information, Defendants continued to reiterate that they

were confident that the changes would lead to desired, positive outcomes.

                             Defendants’ Motion to Dismiss (Doc. 63)

          Characterizing the Amended Complaint as impermissibly premised on fraud by

hindsight, Defendants summarize the Amended Complaint as Plaintiff’s attempt to “shoehorn”

what amounts to disapproval of Defendants’ protected business judgment into an actionable

federal securities fraud claim. Doc. 63 at 9.




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          Defendants, in their Memorandum of Law in support of their Motion to Dismiss, make

five separate points in support of their Motion. First, Defendants argue that they are immune

from liability under the PSLRA’s safe harbor for forward looking statements. Second,

Defendants argue that the Amended Complaint fails to allege facts giving rise to a strong

inference that the Defendants acted with scienter. Third, the Amended Complaint fails to alleged

Defendants’ misstatements or omissions with the specificity required by the heightened pleading

standards of the PSLRA. Fourth, Lead Plaintiff has failed to allege any facts supporting loss

causation. Fifth, Lead Plaintiff cannot state a claim for control person liability.

          i.     Whether the safe harbor for forward looking statements applies

          In Defendants’ first point, they contend that Plaintiff’s allegations present a classic case

for the application of the PSLRA’s safe harbor for forward-looking statements.                All the

statements alleged to be false and misleading, Defendants argue, are forward-looking and

accompanied by meaningful cautionary language. Therefore, under the PSLRA, Defendants are

immune from any liability for securities fraud in connection with those statements. The relevant

portion of the PSRLA provides that a defendant “shall not be liable with respect to any forward-

looking statement” that is “identified as a forward-looking statement, and is accompanied by

meaningful cautionary statements identifying important factors that could cause actual results to

differ materially from those in the forward-looking statement.” 15 U.S.C. § 78u-5(c)(1).

          Defendants argue that their statements regarding Men’s Warehouse’s plans for Jos. A.

Bank are forward-looking statements. A “forward-looking statement,” whether made orally or in

writing, is statutorily defined, in part, as a statement (1) containing a projection of revenues,

income, or earnings per share; (2) regarding the plans or objectives of management for future

operations; (3) regarding future economic performance; or (4) containing a projection of estimate


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of other items required by SEC regulations. See 15 U.S.C. § 78u-5(i)(1)(D); Southland Sec.

Corp., 365 F.3d at 371.

          According to Defendants, the more than 290 statements identified by Plaintiff in the

Amended Complaint, alleged to be “materially false and misleading when made in that they

omitted the true facts,” are all challenged only on their forward-looking aspects. Specifically,

Plaintiff points to Defendants’ 2015 guidance and 2017 guidance, which were allegedly

misleading due to the omission of “true facts.” However, Defendants reply that these instances of

“guidance” were undeniably statements containing projections of revenues, income, earnings,

expenditures, dividends, or other financial items, falling squarely within the safe harbor and thus

insulated from action.

          Defendants also contest Plaintiff’s contention that Defendants’ Forms 10-Q contained

false and misleading forward-looking statements because they omitted “trends or uncertainties

that defendants reasonably expected would have a material unfavorable impact on revenues in

violation of Item 303 of Regulation S-K” and “failed to disclose the true facts” in its risk factors.

Doc. 58 at ¶¶ 62, 63, 78, 79, 87, 88, 101, 102, 114. Defendants argue that these allegations

attack not the content of the financial information reported, but the Company’s identified risk

factors, which are a non-exhaustive list of risks and uncertainties that could affect the

Company’s business. Therefore, these risk factors concern the Company’s future economic

performance and are protected by the safe harbor.

          Furthermore, Defendants emphasize, under the safe harbor, if a forward-looking

statement is identified as such and is accompanied by meaningful cautionary disclosures, it is

insulated from liability and non-actionable. See 15 U.S.C. § 78u-5(c)(1)(A)(i); Southland Sec.

Corp., 365 F.3d at 371. Defendants maintain that the statements concerning Men’s Warehouse’s


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guidance and risk factors satisfy these requirements because they all included disclaimers that

they contained forward-looking statements and were accompanied by meaningful cautionary

language. For example, Defendants point to Men’s Warehouse’s July 29, 2014 Form 8-K which

began by stating, “This Current Report on Form 8-K contains forward looking information,” and

the other challenged statements that had similar disclaimers. Doc. 63 at 23. Additionally, the

Company’s Forms 10-K and Forms 10-Q contained the following language:

          These forward-looking statements may include, but are not limited to, references
          to, sales, earnings, margins, costs, number and costs of store openings, future
          capital expenditures, acquisitions, demand for clothing, market trends in the retail
          and corporate apparel clothing business, currency fluctuations, inflation and
          various economic and business trends. Forward-looking statements may be made
          by management orally or in writing, including, but not limited to . . . other
          sections of our filings with the Securities Exchange Commission.
Id.

          In support of the contention that the statements were accompanied by cautionary

disclosures, Defendants argue that during the Class Period, on at least five occasions, Men’s

Wearhouse specifically warned investors:

      The following factors, among others, could cause actual results to differ
      materially from those expressed or implied in the forward-looking statements: (1)
      the possibility that the expected benefits from the Jos. A. Bank transaction
      will not be realized within the anticipated time period, (2) the risks related to
      the costs and difficulties related to the integration of Jos. A. Bank’s business
      and operations with Men’s Wearhouse’s business and operations, (3) the inability
      to obtain, or delays in obtaining, cost savings and synergies from the transaction...
Doc. 63 at 24 (emphasis added). These disclosures were also incorporated into Defendants’

seven conference calls with investors.        Defendants argue that these cautionary disclosures

provide disclosures concerning a potential cause of the behavior about which plaintiff complains

and are sufficient to meet the requirements of the safe harbor provision.

          Men’s Wearhouse made the following addition to its disclosure in September 14, 2011,

which was provided to investors at least thirteen times over the fifteen-month Class Period,


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cautioning that Defendants’ forward-looking statements may be impacted by Men’s Wearhouse’s

success or lack thereof in executing its internal operating plan for Jos. A. Bank:

      [S]uccess, or lack thereof, in executing our internal operating plans and new store
      and new market expansion plans, including integration of acquisitions, such as
      Jos. A Bank Clothiers, Inc. . . . Future results will also be dependent upon our
      ability to continue to identify and complete successful expansions and
      penetrations into existing and new markets and our ability to integrate such
      expansions with our existing operations.
Doc. 63 at 25. Defendants also claim the Company specifically identified comparable sales

volatility as a risk factor. See id. They contend that they adequately warned investors to “expect

top-line volatility” as Jos. A. Bank transitioned away from the “buy one get three free” model.

In sum, their disclosures and risk factor warnings addressed the risks which Plaintiff complains

of, and are therefore meaningful within the definition of the PSLRA, satisfying the requirements

of the safe harbor provision.

          ii.    Whether the facts alleged give rise to a strong inference of scienter

          In Defendants’ second main point, they argue that Lead Plaintiff’s Amended Complaint

fails to allege facts giving rise to a strong inference that Defendants acted with scienter. The

PSLRA requires that “the complaint shall, with respect to each act of omission alleged to violate

this chapter, state with particularity facts giving rise to a strong inference that the defendant acted

with the required state of mind.” 15 U.S.C. § 78u-4(b)(2)(A). Defendants argue that Plaintiff did

not meet its burden of pleading specific facts that give rise to a strong inference “that the party

knew that it was publishing materially false information, or that the party was severely reckless

in publishing such information.” In re Key Energy Servs. Sec. Litig., 166 F. Supp. 3d 822, 833

(S.D. Tex. 2016).

          “A complaint will survive. . . only if a reasonable person would deem the inference of

scienter cogent and at least as compelling at any opposing inference one could draw from the


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facts alleged.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 324 (2007).

Defendants argue that Plaintiff has not met this burden of showing scienter, and posits that the

more compelling inference is that Defendants genuinely believed, in their business judgment,

that the changes to the Jos. A. Bank business model would benefit the Company.

          As for motive, Defendants emphasize that Plaintiff has not suggested any plausible

reason Defendants might have had to intentionally ruin Jos. A. Bank’s business. They argue that

without a cogent motive theory, the strength of the circumstantial allegations indicating a

defendant’s conscious behavior must be even greater. See Tuchman v. DSC Commc’ns. Corp, 14

F.3d. 1061. Further, Plaintiff must plead scienter with respect to each and every statement or

alleged misrepresentation, which it has failed to do.

          Defendants argue that Plaintiff’s motive theory is not cogent, nor is it as compelling as

the competing inference that Defendants acted without fraudulent intent. Motive is one device

that can be used to support an inference of fraudulent intent. See Lampkin v. UBS Painewebber,

Inc. (In re Enron Corp. Sec., Derivative & “ERISA” Litig.), No. MDL 1446, 2017 U.S. Dist.

LEXIS 28458, at *11 (S.D. Tex. Feb. 28, 2017); Newby, 2016 U.S. Dist. LEXIS 101230, at

*115. Plaintiff’s motive theory appears to be based on Defendants Ewert, Kimmins, and Blake’s

attempts to increase their compensation by artificially inflating Men’s Wearhouse’s stock price.

Doc. 63 at 29. Plaintiff also contends that the executives were acting under immense pressure

from their largest shareholder. Defendants argue that the theory that they were motivated by

their compensation scheme “makes no sense” because the executives’ compensation was largely

based on actual financial performance, not artificially inflated stock prices.      Id. Therefore,

motive cannot be relied upon to create an inference of fraudulent intent.

          Beyond motive, Plaintiff relies on other circumstantial evidence to demonstrate scienter.


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Circumstantial allegations of scienter must be very specific, and Defendants argue Plaintiff’s

allegations of scienter are not specific enough to survive the motion to dismiss. See In re Key

Energy, 166 F. Supp. 3d at 867. Plaintiff’s allegations reference a 2015 management conference

in Ft. Lauderdale, Florida; “Monday marketing meetings”; “initial post-merger meetings”;

“Monday morning meetings”; “a carve-out meeting of executives”; “advice of Jos. A. Bank

senior executives”; “daily sales polling”; and “post-acquisition regional meetings.” Doc. 63 at

32. At these vaguely referenced events and meetings, Plaintiff alleges that Defendants learned

material facts which they omitted from later public statements.

          For instance, it was at these meetings that Defendants supposedly obtained knowledge

that their proposed changes to the Jos. A. Bank business model would definitively fail. These

allegations concerning what Defendants Ewert, Kimmins, and Blake supposedly knew or were

told and omitted from their public statements, presumably based on counsel’s investigation and

“consultation with persons familiar with each entity’s business,” come from confidential sources

who are not described with specificity in the complaint. Nor do Plaintiff’s allegations contain

information regarding the specific dates, locations, or content of these meetings. Without these

specifics dates, details, or information, Defendants posit that it is impossible to determine any

defendant’s state of mind at the particular moment he or she said any of the alleged statements in

the Amended Complaint, a deficiency which requires dismissal.

          Because Plaintiff’s scienter allegations largely depend on confidential sources, not public

statement and filings, the weight of the allegations must be discounted. See Ind. Elec. Workers’

Pension, 537 F. 3d at 535 (“[C]ourts must discount allegations from confidential sources.”).

Such allegations must be disregarded altogether if the source is not described “with sufficient

particularity to support the probability that a person in the position occupied by the source . . .


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would possess the information pleaded.” Id. “Sufficient particularity” requires identification of

the source’s job description, individual responsibilities, and specific employment dates. See In

re Key Energy, 166 F. Supp. 3d at 839.

          The Amended Complaint does not describe the unnamed sources beyond that they were

former Jos. A. Bank executives, leaving Defendants and the Court left to speculate about the

nature of counsel’s investigation.    This failure to identify the sources means the Court lacks a

sufficient basis on which to evaluate the allegations that Defendants acted with scienter, and so

those allegations cannot support a strong inference of fraud. Defendants also point out that the

Amended Complaint fails to specifically tie Defendant Kimmins and Blake to any knowledge or

information that could create an inference that their statements were made with scienter, and

scienter cannot be imputed to these two defendants by use of a group pleading. See Doc. 63 at

35-39.

          iii.   Whether the misstatements or omissions are alleged with specificity

          In addition to the two previous arguments to which Defendants devoted the most energy,

they also offer three additional grounds for dismissal. In their third point, Defendants argue that

Lead Plaintiff’s Amended Complaint fails to allege Defendants’ misstatements or omissions with

the specificity required by the heightened pleading standards of the PSLRA. They state that the

PSLRA and Rule 9(b) require fraud to be pled with particularity by including the “who, what,

when, where, and how” with respect to each statement, which they allege Plaintiff failed to do.

See N. Port Firefighters’ Pension v. Temple-Inland, Inc., 936 F. Supp. 2d 722, 736-37 (N.D.

Tex. 2013). Instead, Plaintiff merely listed the 290 statements, often in block quote form,

without specifying how or why each was materially false and misleading. Defendants contend

that this constitutes failure to identify the specific statement believed to be false or misleading


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and failure to establish the causal connection between the statements and the reason they are

alleged to be misleading, and is grounds for dismissal. See In re Alamosa Holdings, Inc., 382 F.

Supp. 2d 832, 857-58 (N.D. Tex. 2005).

          iv.    Whether the facts alleged support loss causation

          Fourth, Defendants argue that Lead Plaintiff has failed to allege any facts to support loss

causation. The PSLRA requires that Lead Plaintiff plead facts showing “that the act or omission

. . .caused the loss for which the plaintiff seeks to recover damages.” 15 U.S.C. § 78u-4(b)(4). To

meet this standard, Lead Plaintiff’s allegations must show that Defendants’ corrective disclosures

made “the existence of the actionable fraud more probable than it would be without the alleged

fact.” Spitzberg v. Houston Am. Energy Corp., 758 F.3d 676, 688 (5th Cir. 2014).

          Plaintiff alleges that “[t]he declines in the price of Men’s Wearhouse’s stock during the

Class Period were the direct result of the nature and extent of defendants’ prior misstatements

and omissions being revealed to and/or leaking into the market.” FAC at 77. Defendants classify

this as a conclusory, “bald assertion,” unsupported by any allegations in the Amended

Complaint. Doc. 63 at 35. Rather, Defendants contend that the “disclosures” identified by Lead

Plaintiff do not bring to light Defendants’ alleged securities fraud. Id.

          Since Lead Plaintiff has failed to plead anything other than that Defendants’ statements

revealed to the public the result and the impact of Men’s Wearhouse’s business decision to make

certain changes at Jos. A. Bank, Defendants argue the Amended Complaint must be dismissed.

          v.     Whether Lead Plaintiff can state a claim for control person liability

          Last, Defendants argue that Lead Plaintiff cannot state a claim for control person liability

under Section 20(a) of the Securities and Exchange Act of 1934, because a claim under Section

20(a) must be predicated by pleading claim under Section 10(b) and Rule 10b-5. See In re Enron


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Corp. Secs., 235 F. Supp. 2d 549, 595 n.34 (S.D. Tex. 2002). Since this predicate has not been

met, Defendants argue, Plaintiff’s claim for secondary liability must be dismissed as well.

                               Lead Plaintiff’s Response in Opposition (Doc. 68)

          Lead Plaintiff responds to Defendants’ motion by reiterating the basis of its suit: “The

claims are premised on defendants’ false and misleading statements and omissions associated

with their radical alterations to the business model of newly acquired Jos. A. Bank Clothiers,

Inc.” Doc. 68 at 8. Specifically, Plaintiff contends, Defendants made many statements touting

significant cost savings and other merger synergies, while concealing internal testing that

confirmed the planned changes would actually have a devastating effect on Jos. A. Bank sales.

Plaintiff addresses each of Defendant’s points in turn, arguing that it has properly pleaded a

claim under § 10(b) and the motion should not be dismissed.

          i.     Whether the safe harbor for forward looking statements applies

          Plaintiff argues in response to Defendants’ safe harbor challenge that it fails as a matter

of law because Defendants failed to specifically identify which statements they believe are

protected by the safe harbor; rather, Defendants merely state that “each of the allegedly

fraudulent statements at issue here is a forward-looking statement,” without listing each

statement. Plaintiff cites to case law from the Fifth Circuit which they interpret to hold that each

statement benefitting from the safe harbor must be addressed individually. See Lormand, 565

F.3d at 245.1

          Additionally, Plaintiff argues that none of Defendants’ challenged statements fall within

the protection of the PSLRA’s safe harbor provision because (1) many of the statements in

question concern historical or current facts; (2) Defendants’ misrepresentations were made with


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  The Court disagrees with Plaintiff’s application of Lormand, and agrees with Defendants that it was meant to
instruct a Court’s analysis. See infra at p. 26.
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actual knowledge that they were false or misleading; and (3) Defendants’ misrepresentations

were accompanied only by boilerplate cautionary language that failed to warn of a known risk.

Plaintiff cites a case from the Northern District of Texas which held that the safe harbor does not

protect these three types of statements. See In re UICI Sec. Litig., No. 3:04-cv-1149-P, 2006 U.S.

Dist. LEXIS 73753, at *17 (N.D. Tex. Sept. 29, 2006).

          Regarding the first criterion, Plaintiff disputes Defendants’ assertion that the challenged

allegations involve only forward-looking statements.           Rather, Plaintiff contends that the

statements listed in the Amended Complaint concern historical or current facts, which describe

past or present conditions and do not trigger the PSLRA’s safe harbor. Among the statements

referring to then-present, then-existing factual conditions are:

                “[We are] beginning to test ways to improve Joe Bank’s promotional and
                 advertising strategies and to stabilize gross margins”
                “[M]anagement’s tactics are beginning to show early progress”
                “Jos. A. Bank customer is. . . responding well to the small amount of
                 newness that they’ve seen”
                “[W]e are beginning to see some revenue synergies”
                “[W]e’re encouraged with the consumer response to the changes we’re
                 making to the model.”

Doc. 68 at 14.

          Further, Plaintiff cites a Fifth Circuit decision which states that “a mixed present/future

statement is not entitled to the safe harbor with respect to the part of the statement that refers to

the present.” Spitzburg v. Houston Amer., 758 F.3d 676, 691 & nn.25-27 (2014). Plaintiff argues

that several statements fall into this category of present statements and are not entitled to the safe

harbor, including the following statements:

                “[O]ur cost synergy run-rate at the end of the third quarter is well ahead of
                 our original $15 million projection for the end of the 2014 fiscal year”
                “[W]e’re ahead of schedule in getting to [the promised synergy] numbers”
                “[W]e are on track with our internal plans for sales”
Id.
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          In its second point, Plaintiff counters Defendants’ contention that all forward-looking

statements identified as such and accompanied by meaningful cautionary disclosures are

completely non-actionable. Plaintiff points to case law from the Fifth Circuit holding that where

a plaintiff adequately alleges that “the defendants actually knew that their statements were

misleading at the time they were made, the safe harbor provision is inapplicable to all alleged

misrepresentations.” Lormand, 565 F.3d at 244; see also In re Tetra Techs., Inc., No. 4:08-cv-

0965, 2009 U.S. Dist. LEXIS 126687, at *63-*64 (S.D. Tex. July 9, 2009). Plaintiff argues that

because it sufficiently alleges that Defendants had actual knowledge of the falsity of their

statements, the safe harbor defense is defeated.

          Third, Plaintiff disputes that Defendants’ statements were accompanied by meaningful

cautionary language, as Defendants assert was the case. Plaintiff cites to case law explaining that

not all types of cautionary language are sufficient; the language must be meaningful and requires

“substantive company-specific warnings based on a realistic description of the risks applicable to

the particular circumstances, not merely a boilerplate litany of generally applicable risk factors.”

Southland, 365 F.3d at 372. Further, if “reasonable minds could. . . disagree as to whether the

mix of information” provided by the warnings and statements is misleading, “the statutory safe

harbor provision cannot provide the basis for dismissal as a matter of law.” Lormand, 565 F. 3d

at 248. Plaintiff argues that the risk factors listed by Defendants in support of their argument that

the safe harbor applies are generic, generally applicable, and vague. The risk disclosures in

dispute include the following:

                “‘The following factors, among others, could cause actual results to differ
                 materially from those expressed or implied in the forward-looking
                 statements: (1) the possibility that the expected benefits from the Jos. A.
                 Bank transaction will not be realized within the anticipated time period,
                 (2) the risks related to the costs and difficulties related to the integration of
                 Jos. A. Bank’s business and operations with Men’s Wearhouse’s business

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                 and operations, (3) the inability to obtain, or delays in obtaining, cost
                 savings and synergies from the transaction . . . .’”

              “‘[S]uccess, or lack thereof, in executing our internal operating plans and
                new store and new market expansion plans, including integration of
                acquisitions, such as Jos. A. Bank Clothiers, Inc. . . . . Future results will
                also be dependent upon our ability to continue to identify and complete
                successful expansions and penetrations into existing and new markets and
                our ability to integrate such expansions with our existing operations.’”

                ‘“Our comparable sales have fluctuated significantly in the past on both an
                 annual and quarterly basis and are expected to continue to fluctuate in the
                 future. We believe that a variety of factors affect comparable sales results
                 including, but not limited to . . . spending patterns . . . the timing and level
                 of promotional pricing or markdowns . . . [and] changes in fashion trends
                 and our merchandise mix . . . .’”


Doc. 68 at 17.

          Plaintiff claims this language fails to adequately warn of the substantial known risk

associated with the drastic changes being implemented to the Jos. A. Bank business model.

Defendants had been warned prior to enacting those changes by Jos. A. Bank executives that

they would result in a “devastating 30% negative impact on sales due to the differences in

customer profile between Men’s Wearhouse and Jos. A. Bank.” Id. at 18. Yet despite this

concrete advice, the cautionary language only vaguely refers to such potential difficulties and

sales fluctuations. Plaintiff cites case law showing that general cautionary language does not

excuse Defendants’ failure to reveal known, material, adverse facts. See Rubinstein, 20 F.3d at

171.

          Plaintiff additionally criticizes the risk disclosures for being inadequate because they are

boilerplate, cut-and-paste phrases repeated over and over again despite significant changes in the

operation over time, which indicates that they were not substantive or tailored to the specific

project. See Lormand, 565 F.3d at 245; Helwig, 251 F.3d at 559. In sum, because Defendants’


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misstatements and omissions were not accompanied by meaningful, company-specific warnings

based on a realistic assessment of the situation, Plaintiff argues the PSLRA’s safe harbor

provision does not apply.

          ii.    Whether the facts alleged give rise to a strong inference of scienter

          Plaintiff responds to Defendants’ second main point by insisting that the Amended

Complaint does indeed contain allegations sufficient to justify a strong inference of scienter.

“The required state of mind [for scienter] is an intent to deceive, manipulate, or defraud or severe

recklessness.” Lormand, 565 F. 3d at 251. Plaintiff argues it may plead severe recklessness by

alleging “defendants’ knowledge of facts or access to information contradicting their public

statements” or “facts demonstrating that defendants failed to review or check information that

they had a duty to monitor or ignored obvious signs of fraud.” See In re Fleming Cos. Inc. Sec. &

Derivative Litig., No. 5-03-MD-1530 (TJW), 2004 U.S. Dist. LEXIS 26488, at *32 (E.D. Tex.

June 10, 2004).

          Plaintiff further points out that the inquiry is whether all the facts alleged, considered

collectively, give rise to a strong plausible inference of scienter, not whether each statement

individually meets the standard. See Tellabs, 551 U.S. at 322-24. Plaintiff argues that the

allegations in the Amended Complaint, considered collectively and taken as true, give rise to a

strong plausible inference of scienter.

          Plaintiff criticizes and dismisses Defendants’ point that Plaintiff did not allege a cogent

theory or motive explaining the reason behind Defendants’ actions. Plaintiff cites to case law

stating that “the absence of a motive allegation is not fatal.” Id. at 325. Even so, Plaintiff

explains that the Complaint does put forth a plausible motive explaining Defendants’ alleged

fraud: Essentially, the Defendants were under great pressure to deliver on their promised results


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after the acquisition of Jos. A. Banks and concealed the known risks “in the hopes that the

known sales disruption would simply not come to pass.” Doc. 68 at 23. Furthermore, part of

Ewert, Kimmins, and Blake’s compensation was tied to their ability to achieve strong results

during and following the integration of Jos. A. Bank. Id.

          Aside from motive as an indicator of scienter, Plaintiff points to numerous other

allegations in the Amended Complaint which it argues amply lay a foundation for a strong

inference of scienter. Plaintiff contends the Amended Complaint alleges with specificity that

Defendants were aware of undisclosed facts that undermined their statements regarding Jos. A.

Bank’s business and operations and the underlying guidance.

          Specifically, Plaintiff indicates portions of the Complaint that state:

                Jos. A. Bank senior executives informed Men’s Wearhouse senior
                 executives that prior testing showed that raising prices or changing the
                 type of suits sold at Jos. A. Banks would have a large negative impact on
                 sales.

                Defendants were immediately aware that the new suits introduced for sale
                 at Jos. A. Bank were causing sales to drop because they received live sales
                 data daily.

                Defendants knew that Jos. A. Bank customers were complaining in high
                 volume about the new suits being offered for sale.

                Jos. A. Bank senior executives warned Men’s Wearhouse senior
                 executives that the implementations they sought to enact had previously
                 been tested, and based on those tests, it was predicted that the proposed
                 changes would result in catastrophic losses.

Plaintiff argues that together, these allegations support a strong inference of scienter because

they show that the Defendants misled the public by concealing material facts of which they were

aware.

          Next, Plaintiff addresses Defendants’ argument that Plaintiff’s allegations were not

specific enough and lacked details surrounding the unnamed sources. Plaintiff urges that it
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would be impossible for it to allege all facts related to its claims at the pleading stage because

only defendants know all the facts related to the alleged fraud. See ABC Arbitrage v. Tchuruk,

291 F. 3d 336, 354-56 (5th Cir. 2002) (“[E]ven with the heightened pleading standard under Rule

9(b) and the Securities Reform Act we do not require the pleading of detailed evidentiary matter

in securities litigation.”).

          Plaintiff disagrees with Defendants that its “failure to identify with whom its counsel

consulted requires dismissal of the Amended Complaint.” Doc. 68 at 27. Citing a case from the

Fifth Circuit, Plaintiff states that the PSLRA “requires plaintiffs to plead only facts and makes no

mention of the sources of these facts.” ABC Arbitrage, 291 F. 3d at 353; see also Marcus v. J.C.

Penney Co., 2015 U.S. Dist. LEXIS 131613, *5, 2015 WL 5766870 (E.D. Tex. 2015) (“Even

under the PSLRA, plaintiffs are only required to plead facts, not to produce admissible

evidence.”). Rather, a plaintiff need only “plead with particularity sufficient facts to support

their allegations of false or misleading statements made on information and belief.” ABC

Arbitrage, 291 F. 3d at 353.

          Plaintiff argues it has met this burden by pleading the “who, what, when, where, and

how” of the alleged fraud as required under Rule 9(b) and the PSLRA. See id. at 530. The

“who” are Men’s Weahouse, Ewert, Kimmins, and Blake; the “what” are statements concerning

the business operations of Jos. A. Bank and Defendants’ guidance regarding merger synergies

and adjusted earnings per share; the “when” is the multiple dates listed in the Amended

Complaint spanning from July 29, 2014 to November 5, 2015; the “where” includes the Analyst

Day presentation, press releases, conference calls, investor meetings, and SEC filings; the “how”

is by concealing from investors “known risks, trends, and uncertainties” associated with the

planned alterations to the Jos. A. Bank business model; and the “why” is to “justify spending


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$1.8 billion to save their jobs and to relieve pressure from investors with the hope that the known

sales decline would correct before a shift in the market.” Doc. 68 at 28.

          Taking these allegations in the Amended Complaint as true, Plaintiff urges, they provide

sufficient facts pursuant to the PSLRA to support a strong inference that Defendants were aware

of undisclosed facts which seriously undermined their statements. Last, Plaintiff disputes the

contention that it attempts to rely on group pleadings to impute scienter to Defendants Kimmins

and Blake, pointing out many allegations inclusive of or specific to the two defendants in

question. Doc. 68 at 28-34.

          iii.   Whether the misstatements or omissions are alleged with specificity

          Plaintiff counters Defendants’ categorization of its complaint as a “puzzle pleading” and

maintains that the Amended Complaint “precisely details each problematic statement, alleges

that each statement is false and misleading, and alleges the reasons as to why each statement was

false or misleading.” Doc. 68 at 35. Plaintiff argues it has specified with particularity which

statements are challenged, by whom each statement was made, that each statement was false or

misleading, and why each statement was false or misleading, meeting the pleading requirements

of the PSLRA.

          iv.    Whether the facts alleged support loss causation

          Next, Plaintiff argues that it has satisfied the standard to plead loss causation by alleging

“facts that support an inference that Defendants’ misstatements and omissions concealed the

circumstances that bear upon the loss suffered such that Plaintiffs would have been spared all or

an ascertainable portion of that loss absent the fraud.” See Pub. Employees Ret. Sys. of

Mississippi, Puerto Rico Teachers Ret. Sys. v. Amedisys, Inc., 769 F.3d 313, 325 (5th Cir. 2014).

For one example, Plaintiff points to the revelation from Defendants on November 5, 2015 that


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“comparable sales decreased 14.6%” for the third quarter. Doc. 68 at 39. In reaction to these

disclosures, on November 5 and 6, 2015, Men’s Wearhouse stock declined in price by 43%, a

loss of $17.40 per share. Id.

          In response to Defendants’ contention that statements such as these do not constitute

“corrective disclosures,” Plaintiff responds that they do qualify as such because the “disclosed

information [reflects] part of the ‘relevant truth’—the truth obscured by the fraudulent

statements.” See Ala. Elec. Pension Fund v. Flowserve Corp., 572 F. 3d 221, 230 (5th Cir.

2009).         Thus, Plaintiff’s allegations are sufficient to support an inference that Defendants

concealed circumstances that bear upon the loss suffered.

          v.        Whether Lead Plaintiff can state a claim for control person liability

          Defendants argue that the § 20(a) claim must be dismissed because the underlying §

10(b) claim fails. Plaintiff responds that it has adequately alleged a § 10(b) claim, creating a

valid basis for the § 20(a) claim. See In re Elec. Data Sys. Corp. Sec. & ""ERISA'' Litig., 298 F.

Supp. 2d 544, 561 (E.D. Tex. 2004).

                                       Defendants’ Reply (Doc. 69)

          Much of the Reply is redundant of arguments made in Defendants’ motion to dismiss.

Defendants emphasize that securities class actions attacking business judgments, corporate

mistakes, and dashed hopes, such as they claim is the situation here, are precisely what the

PSLRA is designed to stop. Defendants repeat that a securities fraud case pleading must meet

the specific, rigorous requirements of the PSLRA, which Plaintiff has failed to do. In particular,

Defendants argue the Amended Complaint is unsubstantiated by particularized facts supporting

strong inferences of intent to defraud or severe recklessness, and should be dismissed.

          i.        Whether the safe harbor for forward looking statements applies


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          In response to Plaintiff’s argument that Defendants are required to specifically identify

each statement claimed to be protected by the PSLRA safe harbor as “forward-looking,”

Defendants dispute Plaintiff’s interpretation and application of Lormand. Defendants argue that

Lormand does not stand for the contention that in a motion to dismiss, defendants much address

each statement individually; rather, the opinion was focused on how a court should determine

whether a forward-looking statement contains meaningful cautionary language.

          Additionally, Defendants counter Plaintiff’s assertion that the risk disclosures were

merely boilerplate, emphasizing instead that they contained substantive, specific descriptions of

actual risk factors that might negatively impact future results. Defendants insist that the risk

disclosures contained the unique company-specific and industry-specific cautionary language

required by the PLSRA safe harbor. In support of this argument, Defendants cite to other cases

which identify generic or boilerplate language, and distinguish their own disclosures from the

ones held to be deficient. See Marcus v. J.C. Penney Co., No. 13-cv-736, 2015 U.S. Dist. LEXIS

121683 (E.D. Tex. Sep. 11, 2015); Lormand, 565 F. 3d at 244.

          Defendants argue that it disclosed risks unique to the retail industry, a legally sufficient

level of specificity, such as comparable sales impacted by consumer spending, promotional

activity, and fashion changes. Further, even if the risk disclosures did not “warn against the

exact behavior that Plaintiffs complain of,” it is legally sufficient to “warn of the root cause.” See

N. Port Firefighters’ Pension v. Temple-Inland, Inc., 936 F. Supp. 2d 722, 760 (N.D. Tex. 2013).

Here, the “root cause” was the decline in sales following the elimination of the buy-one-get-

three-free promotions; disclosures included warning that “comparable sales have fluctuated

significantly in the past” and “are expected to continue to fluctuate in the future.” Doc. 69 at 18.

          Defendants offer more arguments about the sufficiency of the cautionary language


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accompanying their challenged statements, and also contend that the “actual knowledge”

exception to the PSLRA’s safe harbor does not apply in the present situation because Plaintiff

has failed to plead facts sufficient to trigger the actual knowledge exception. Notably, however,

Defendants do not offer any reply to Plaintiff’s first argument: that many of the statements in

question are not forward-looking at all, but rather concern historical or current facts, and are

therefore not eligible for the safe harbor defense for forward-looking statements.

          ii.    Whether the facts alleged give rise to a strong inference of scienter

          Defendants also urge that Plaintiff’s scienter arguments are legally incorrect and

unpersuasive, emphasizing two of its previous points: (1) Plaintiff has not articulated a plausible

motive theory and (2) the Amended Complaint lacks sufficient facts to support Plaintiff’s

allegations of false or misleading statements, which are based on confidential, personal sources.

          Lead Plaintiff must “set forth specific facts that raise an inference of fraudulent intent, for

example, facts that show the defendant’s motive.” Newby v. Enron Corp. (In re Enron Corp.

Sec., Derivative & “ERISA” Litig.), No. MDL 1446, 2016 U.S. Dist. LEXIS 101230, at *115

(S.D. Tex. Aug. 2, 2016). Defendants continue to attack Plaintiff’s motive theory, alleging it is

not possible, let alone plausible, because if Defendants had “known” the devastating impact that

would result from the changes, they would have behaved differently. See Doc. 69 at 9. The more

plausible and compelling theory is that Defendants honestly underestimated the immediate

impact the changes would have on sales and the value of the Company’s shares.

          Defendants also dispute Plaintiff’s suggestion that the executives’ compensation schemes

establish motive and scienter. Defendants repeat their assertion that the compensation was tied

predominately to net consolidated earnings, which would have incentivized them to enhance the

Company’s actual financial performance, not just artificially inflate the stock prices. There was


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one form of compensation that was indeed tied to the stock price—the equity-based long-term

incentive award—but these awards were not scheduled to vest until April 3, 2018.

          Furthermore, Defendants maintain that the facts actually pleaded by Plaintiff must be

supported by something other than speculation, conjecture, or belief, which they are not, and

must satisfy the “[e]xacting pleading requirements” of Rule 9(b) of the Federal Rules of Civil

Procedure and the PSLRA, which they do not. See Tellabs, 551 U.S. at 313. Defendants cite

Indiana Electric Workers’ Pension Trust Fund to argue that when a plaintiff seeks to meet its

substantial burden using confidential sources, as it does here, the facts supporting an inference of

scienter must be even stronger. 537 F.3d at 535.              Plaintiff must clearly demonstrate the

reliability of the source and the reliability of the facts supplied.

          Defendants point to the analysis outlined by the Fifth Circuit in ABC Arbitrage v.

Tchuruk, 291 F.3d 336 (5th Cir. 2002) and argue that Plaintiff has failed to satisfy any of the

three requirements put forth in that opinion. Under ABC Arbitrage, there are three ways to

satisfy the pleading requirements:

       (1) if plaintiffs rely on confidential personal sources and other facts, their sources
       need not be named in the complaint so long as the other facts, i.e., documentary
       evidence, provide an adequate basis for believing that the defendants' statements
       or omissions were false or misleading;
       (2) if the other facts, i.e., documentary evidence, do not provide an adequate basis
       for believing that the defendants' statements or omissions were false, the
       complaint need not name the personal sources so long as they are identified
       through general descriptions in the complaint with sufficient particularity to
       support the probability that a person in the position occupied by the source as
       described would possess the information pleaded to support the allegations of
       false or misleading statements made on information and belief;
       (3) if the other facts, i.e., documentary evidence, do not provide an adequate basis
       for believing that the defendants' statements or omissions were false and the
       descriptions of the personal sources are not sufficiently particular to support the
       probability that a person in the position occupied by the source would possess the
       information pleaded to support the allegations of false or misleading statements
       made on information and belief, the complaint must name the personal sources.
291 F.3d at 353.

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          Defendants argue that the allegations that Defendants made false or misleading

statements by omitting “true” facts derive entirely from confidential personal sources. Since

Plaintiff did not name its sources, it must identify them though general descriptions, including

the source’s job description, responsibilities, and employment dates, which it did not do. See In

re Key Energy, 166 F. Supp. 3d at 839. As a result, there is no basis by which to determine

whether the confidential sources would have possessed the type of information necessary to

support the allegations, fraud has not been pleaded with the required particularity, and dismissal

is warranted.

          In sum, the Amended Complaint lacks sufficient, non-conclusory allegations through

which the Court could find it plausible that “a reasonable person would deem the inference of

scienter cogent and at least as compelling as any opposing inference one could draw from the

facts alleged.” Tellabs, 551 U.S. at 324.

          iii.   Whether the misstatements or omissions are alleged with specificity

          Defendants argue that Plaintiff bears the burden “to present succinct pleadings which

clearly lay out the elements as required by this Circuit.” In re Alamosa Holdings, Inc., 382 F.

Supp. 2d 832, 858 (N.D. Tex. 2005). A securities fraud complaint must be dismissed at the

pleading stage unless the complaint contains particularized facts demonstrating both materially

false statements and a strong, cogent inference of fraudulent intent. Indiana Elec. Workers'

Pension Tr. Fund IBEW v. Shaw Grp., Inc., 537 F.3d 527, 533 (5th Cir. 2008). Defendants argue

this standard is not met by the Amended Complaint because it contains lengthy block quotations

followed by conclusory statements that the Defendants’ statements were materially false and

misleading, accompanied by a copied-and-pasted list of “true” facts—Plaintiff never identifies

why each particular statement is allegedly false or misleading.


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          iv.    Whether the facts alleged support loss causation

          To adequately plead loss causation, Plaintiff must identify a “corrective disclosure”

which revealed a concealed truth and contains a logical link to the drop in the company’s stock

price. See Spitzburg v. Houston Am. Energy Corp., 758 F. 3d 676, 688 (5th Cir. 2014).

Corrective disclosures do not include confirmatory statements or reports of financial results. See

Catogas v. Cyberonics, 292 Fed. Appx. 311, 314 (5th Cir. 2008). Defendants argue that Plaintiff

does not allege any corrective disclosures making the existence of the alleged fraud “more

probable that it would be without the alleged facts (taken as true).” Spitzberg v. Houston Am.

Energy Corp., 758 F.3d at 688. Therefore, Plaintiff has failed to plead facts sufficient to

establish loss causation.

                                         Court’s Decision

          After considering the allegations in the Amended Complaint as a whole, the Court finds

that Defendants’ motion to dismiss should be granted.

          With regard to the applicability of the safe harbor, the Court agrees with Plaintiff that

many of the statements in question do not qualify as “forward-looking” because they concern

historical or current facts. As they are not “forward-looking,” they cannot and do not fall under

the PSLRA’s safe harbor, and Defendants’ assertion of that defense fails.

          Nevertheless, the Court finds that the Amended Complaint has not adequately pled

scienter. Both sides presented arguments about Defendants’ potential motive driving the alleged

fraud, or lack thereof. The arguments about motive were inconclusive, but motive is not a

dispositive issue. Tellabs, 551 U.S. at 325. The pressure to perform faced by Defendants, as well

as their compensation scheme, may have provided a motive for them to promote artificially

inflated stock prices; however, as Defendants point out, their compensation scheme was also


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based largely on maintaining a healthy company long-term, measured by its actual financial

performance, not just by inflated stock prices.

          Even assuming Plaintiff’s motive theory makes sense, as the Supreme Court held in

Tellabs, 551 U.S. at 323-24,

       The strength of an inference cannot be decided in a vacuum. The inquiry is
       inherently comparative: How likely is it that one conclusion, as compared to
       others, follows from the underlying facts? To determine whether the plaintiff has
       alleged facts that give rise to the requisite “strong inference” of scienter, a court
       must consider plausible, nonculpable explanations for the defendant's conduct, as
       well as inferences favoring the plaintiff. . . .[T]he inference of scienter must be
       more than merely “reasonable” or “permissible”—it must be cogent and
       compelling, thus strong in light of other explanations. A complaint will survive,
       we hold, only if a reasonable person would deem the inference of scienter cogent
       and at least as compelling as any opposing inference one could draw from the
       facts alleged.
Therefore, the Court agrees with Defendants that Plaintiff has still not met its burden of showing

that the fraudulent explanation is equally as cogent or compelling as the non-fraudulent

explanation. Rather, the Court finds based on the facts alleged in the Amended Complaint that

the non-fraudulent explanation of the Defendants’ actions is more cogent and compelling:

Defendants were genuinely attempting to implement positive changes in the Jos. A. Bank

business model by introducing new inventory and ending the “margin erosive” buy-one-get-

three-free promotional events.

          While the previous Jos. A. Bank executives firmly advised against enacting the changes

the Defendants pursued, the facts alleged support the inference that Defendants’ decision to

pursue those business changes was made in good faith.            The inference that they acted

fraudulently – knowing their decisions would have catastrophic results, and covering up this

alleged knowledge – is not supported by the current pleading. The more compelling explanation

presented is that they did not believe the predictions of the former Jos. A. Bank executives would

come to fruition under their leadership.

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          Furthermore, as argued by Defendants, the complaint does not provide much information

about the referenced studies conducted by the former Jos. A. Bank’s executives, so the Court

cannot analyze how credible those predictions were and whether they constitute “true facts”

recklessly disregarded by Defendants. The “Buy-One-Get-Three-Free” model did not appear to

be sustainable, from the facts included in the complaint, and the Defendants appear to have been

trying to mold Jos. A. Bank’s future as a profitable company by seeking alternatives to the “Buy-

One-Get-Three-Free” model.

          Regarding specificity, the Complaint would benefit from more clarity and brevity. To

avoid dismissal, a plaintiff pleading a false or misleading statement or omission as the basis for a

Section 10(b) and Rule 10b–5 securities fraud claim must:

        (1) specify each statement alleged to have been misleading, i.e., contended to be
        fraudulent;
        (2) identify the speaker;
        (3) state when and where the statement was made;
        (4) plead with particularity the contents of the false representations;
        (5) plead with particularity what the person making the misrepresentation
        obtained thereby; and
        (6) explain the reason or reasons why the statement is misleading, i.e., why the
        statement is fraudulent.
This is the “who, what, when, where, and how” required under Rule 9(b) in relevant securities

fraud jurisprudence and under the PSLRA. See ABC Arbitrage Plaintiffs Grp. v. Tchuruk, 291

F.3d 336, 350 (5th Cir. 2002).

           The Court advises Lead Plaintiff to take care to plead with particularity the contents of

the false representations and explain specifically, precisely, and explicitly why each statement is

misleading or fraudulent. Often in the Amended Complaint the Court was left to assume the link

Plaintiff was trying to make between the alleged misleading statement and the reason it was

misleading.

          Because Plaintiff fails to state a primary violation of § 10(b) of the Exchange Act and

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Rule 10b-5, its claim for control person liability under § 20 also fails at this time.

                                             Conclusion

          For the foregoing reasons, the Court finds that Lead Plaintiff’s Amended Class Action

Complaint does not state a claim for violations of Section 10(b) or Section 20(a). Accordingly,

Defendants’ Motion to Dismiss is hereby GRANTED. The Amended Complaint is hereby

DISMISSED WITHOUT PREJUDICE.

          The Court does not take lightly dismissal of a claim without reaching its merits. Thus, a

plaintiff will be given the opportunity to amend a complaint where it appears that more careful or

detailed drafting might overcome the deficiencies on which dismissal is based.

          If Lead Plaintiff is able to overcome the deficiencies stated herein, it should do so by no

later than thirty (30) days from the date of this Order.



          SIGNED at Houston, Texas, this 31st day of March, 2018.


                                                   ___________________________________
                                                            MELINDA HARMON
                                                     UNITED STATES DISTRICT JUDGE




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